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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

PHILIP BEVERLY and ROBERT                          )
BIONAZ,                                            )
     Plaintiffs,                                   )           Case No. 14 C 4970
                                                   )
               v.                                  )           Judge Joan B. Gottschall
                                                   )
WAYNE WATSON, PATRICK CAGE,                        )
and JANELLE CARTER,                                )
      Defendants.                                  )

                                              ORDER

       The plaintiffs’ motion for a preliminary injunction [42] is denied without prejudice and

the hearing on that motion scheduled for August 11, 2015, is stricken. See order for details.

                                           STATEMENT

       In the interest of expediting this litigation and advancing adjudication of this lawsuit on

the full merits, the Court hereby vacates the preliminary injunction hearing scheduled for August

11, 2015, and enters this Order as of July 29, 2015. This Order does not constitute any findings

regarding the merits of this lawsuit or any related liability, but is entered for the purpose of

maintaining the status quo while the matter is pending.

       1.      Defendants will not communicate with Plaintiffs related to operation of their blog,

the CSU Faculty Voice, while this litigation is pending, nor will Defendants take any steps to

shut down the CSU Faculty Voice blog or interfere with its operation in any way.

       2.      Defendants agree not to impose sanctions on Plaintiffs for publication of the CSU

Faculty Voice blog or any other lawful expression critical of Chicago State University (“CSU”)

officials or administrators.
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       3.      This Order shall remain in effect until such time as the Parties come before the

Court to seek modification or this lawsuit is terminated. Conditions for modification are not

limited but may include: (i) unsolicited bulk emailing by the Plaintiffs to CSU email addresses;

or (ii) sanctioning Plaintiffs for expression critical of the Defendants or the CSU administration.




Date: July 29, 2015
                                                            Joan B. Gottschall
                                                          United States District Judge




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